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 PROB 35                 Report and Order Terminating Probation/Supervised Release            p||_.gO
(Rev. 6/17)                             Prior to Original Expiration Date                y 5 QiSTRiCT COWl
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                                                 e       ^
                                        United States District Court
                                                                    ^                2020 iiN2a PH12:3l»
                                                     FOR THE                                  _     ^
                                    SOUTHERN DISTRICT OF GEORGIA
                                             SAVANNAH DIVISION                                          bA.



              UNITED STATES OF AMERICA


                            V.                             V     Crim. No. 4:I3CR00007-21

                  George Lenard Moran


       On May 20, 2015, the above named was placed on supervised release for a period of five years. He has
complied with the rules and regulations of supervised release and is no longer in need of supervision. It is
accordingly recommended that George Lenard Moran be discharged from supervision.

                                                               Respectfully submitted.




                                                               Stephen C. Highsmith
                                                               Supervisory U.S. Probation Officer


                                          ORDER OF THE COURT


       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

        Dated this                  day of                                ,2020.




                                                             William T. Moore, Jr.
                                                           Judge, U.S. District Court
